         Case 2:20-cv-10712 Document 1 Filed 11/24/20 Page 1 of 8 Page ID #:1




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14 United States of America
15                           UNITED STATES DISTRICT COURT
16                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
17                                  WESTERN DIVISION
18   UNITED STATES OF AMERICA,                   No. 2:20-CV-10712
19              Plaintiff,                       VERIFIED COMPLAINT FOR
20                                               FORFEITURE
                       v.
21   $38,905.00 IN U.S. CURRENCY,                21 U.S.C. § 881(a)(6)
22              Defendant.
                                                 [D.E.A.]
23
24
25
26        Plaintiff United States of America brings this claim against defendant $38,905.00
27 in U.S. Currency, and alleges as follows:
28 ///
          Case 2:20-cv-10712 Document 1 Filed 11/24/20 Page 2 of 8 Page ID #:2




 1                                 JURISDICTION AND VENUE
 2           1.     The government brings this in rem forfeiture action pursuant to 21 U.S.C.
 3   § 881(a)(6).
 4           2.     This Court has jurisdiction over the matter under 28 U.S.C. §§ 1345 and
 5   1355.
 6           3.     Venue lies in this district pursuant to 28 U.S.C. § 1395.
 7                                   PERSONS AND ENTITIES
 8           4.     The plaintiff in this action is the United States of America.
 9           5.     The defendant is $38,905.00 in U.S. Currency (the “defendant currency”)
10 seized by law enforcement officers on or about December 2, 2019 from Jarquis Traonne
11 Moss (“Moss”) at Los Angeles International Airport (“LAX”), which is located at 1
12 World Way, Los Angeles, California 90045.
13           6.     The defendant currency is currently in the custody of the United States
14 Marshals Service in this District, where it will remain subject to this Court’s jurisdiction
15 during the pendency of this action.
16           7.     The interests of Moss may be adversely affected by these proceedings.
17                                   BASIS FOR FORFEITURE
18           8.     On December 2, 2019, law enforcement officers assigned to a LAX
19 narcotics task force, which task force is known as DEA/LAX Group 3 and is comprised
20 of special agents from the Drug Enforcement Administration, deputies from the Los
21 Angeles Sheriff’s Department and police officers from the Los Angeles Police
22 Department, encountered Moss at the LAX airport. Moss was traveling alone on
23 American Airlines flight number 2328 from Atlanta, Georgia to Los Angeles, California.
24           9.     Moss was traveling on a one-way ticket that was purchased three days prior
25 to his travel. Narcotic money couriers typically purchase one-way tickets a short time
26 before their departure, because their schedules are often dependent on co-conspirators in
27 the drug source cities such as Los Angeles and they also often believe that doing so will
28 limit their exposure in airline databases and avoid police detection. Those narcotic
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          Case 2:20-cv-10712 Document 1 Filed 11/24/20 Page 3 of 8 Page ID #:3




1    money couriers often have no prior knowledge of when the drugs will be available, so
2    they must purchase last minute airline tickets when the controlled substances become
3    accessible. Atlanta is known as a consumer city for controlled substances, and Los
4    Angeles is known as a source city for the purchase of controlled substances.
5          10.    Officers approached Moss as Moss was walking towards the exit at
6 Terminal 4, explained that Moss had done nothing wrong and was not being detained or
7 under arrest, and asked whether Moss would speak with them about his travel to Los
8 Angeles, to which Moss agreed. An officer asked Moss for identification. When Moss
9 handed the officer his identification, Moss’ hand was visibly shaking.
10         11.    The officer asked Moss what Moss’ purpose was for traveling to Los
11 Angeles, to which Moss became visibly nervous and replied that he had traveled to Los
12 Angeles to attend a car auction and buy cars for his business.
13         12.    The officer asked Moss if he was travelling with any contraband, drugs, or
14 large sums of money. Moss told the officer he was not traveling with any contraband or
15 drugs, but stated he had $8,000.00 in U.S. currency in his backpack. Moss then recanted
16 his story and said that he was in possession of approximately $9,000.00 to $10,000.00 in
17 U.S. currency. The officer asked Moss if the officer could search his backpack. Moss
18 consented to a search and removed his backpack from his shoulders and handed it to the
19 officer. During the search of Moss’ backpack, the officer discovered a large stack of
20 U.S. currency in the pocket of a red pair of sweatpants. The officer immediately zipped
21 up the backpack and handed it over to Moss. When the officer asked Moss if the money
22 in his possession belonged to him, Moss replied “yes.”
23         13.    When the officer asked about his travel, Moss told the officer that he had
24 purchased a one-way ticket three days prior to his flight. When asked about his travel
25 plans, Moss stated that he planned to stay in Los Angeles for about a week and later
26 altered his statement and said “for only a few days.” The officer then asked Moss if he
27   had made any lodging or rental car arrangements. Moss stated that he had not made
28   rental car arrangements and that he intended to “get a hotel right next to the airport.”
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          Case 2:20-cv-10712 Document 1 Filed 11/24/20 Page 4 of 8 Page ID #:4




1    Moss asked the officer if the officer could recommend a good hotel next to the airport.
2          14.    The officer asked Moss if he would accompany the officer to the DEA/LAX
3    Group 3 office to discuss the origin and purpose of Moss’ possession of a substantial
4    amount of U.S. currency. Moss consented and walked to the office while carrying his
5    own luggage.
6          15.    The officer asked if Moss would place everything from his pockets on top
7    of the table in the interview room. Moss removed a folded over bundle of U.S. currency
8    from his pants pocket and a cell phone. Then, the officer asked Moss if he could search
9    his backpack again, and Moss consented. During the search of the backpack, the officer
10   found U.S. currency in the pocket of a pair of red sweatpants and an old style flip cell
11   phone. Persons involved in narcotic trafficking typically carry inexpensive, disposable
12   secondary cell phones that they use exclusively for illicit communication in the belief
13   that it is less likely to be detected by law enforcement. The officers again asked Moss
14   how much money he had in his possession, and Moss now claimed he had approximately
15   $15,000.00 in U.S. currency. In response to the officers’ inquiry as to whether all the
16   money in his possession belonged to him, Moss replied affirmatively. Narcotic money
17   couriers commonly place controlled substance related proceeds inside the front pocket of
18   a clothing article as well as carry the proceeds on their person.
19         16.    Moss further stated that he traveled to Los Angeles to possibly purchase
20   several vehicles at an auction in Anaheim, California and intended then to ship them
21   back to Georgia to resell them for a profit. Moss intermittently mentioned that he owned
22   a car dealership and tow service in Montgomery, Alabama. Moss went on to say that it
23   would cost him $1,000.00 per vehicle to ship the vehicles back to Alabama. When asked
24   how many vehicles he intended to purchase, Moss said “five or six.” In response to
25   officers’ question whether he had picked out any cars he liked or whether he had spoken
26   to anyone about the cars or the auction, Moss replied that he had not.
27         17.    To the officer’s further inquiries about his automotive business, Moss stated
28   that the name of his tow service business was “Auto Cents” and the name of the car
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          Case 2:20-cv-10712 Document 1 Filed 11/24/20 Page 5 of 8 Page ID #:5




1    dealership business was “Road Master.” Moss later recanted and claimed he was a “part
2    owner” of the businesses with his father. A search in the Georgia Secretary of State
3    database revealed that there was an entity called Auto Cents LLC that had not been
4 registered since 2011 and was administratively dissolved by the Secretary of State in
5 December 2015. Another search in the Georgia Secretary of State database revealed that
6    there is a newly formed entity called Road Master Towing & Recovery LLC that was
7    formed in October 2020, which is 10 months after the December 2019 seizure. The
8    database further reflected that the name Road Master Towing & Recovery was reserved
9    by Karlene Sparks for Moss on or about October 23, 2019 but that the name reservation
10   expired on November 22, 2019 and the entity was never formed.
11           18.   When asked how much income he earns, Moss stated that he has never paid
12   income tax and that he did not know how much income he earns monthly or annually.
13           19.   Moss further stated that he planned to purchase vehicles from the auction
14   called “Manahiem” to be held in Anaheim, California on December 3, 2019. The officer
15   asked Moss again how long he planned to stay in Los Angeles, and Moss recanted his
16   original statement and said he intended to leave “right after the auction” on December 3,
17   2019.
18           20.   The officer called Manheim and learned that it had an auction scheduled for
19   December 4, 2019, not December 3, 2019 as Moss had stated. The Manheim
20   representative stated that neither Moss nor the dealership that Moss claimed to be
21   associated with had registered to attend the December 4, 2019 auction. The
22   representative further stated that to attend and participate in an auction, a car dealership
23   as well as its representative had to be pre-registered with the auction, and that the pre-
24 registration process took a few days. In addition, a hotel in the LAX area that Moss
25 stated he was interested in staying was approximately forty miles from the car auction
26 Moss said he planned to attend.
27           21.   A trained, state-certified narcotic detection canine, “Keisa,” conducted a
28 sniff test of the defendant currency in Moss’s possession. “Keisa” positively alerted,
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          Case 2:20-cv-10712 Document 1 Filed 11/24/20 Page 6 of 8 Page ID #:6




 1   which signifies that the defendant currency had recently been in close proximity with
 2   narcotics. At the time of the December 2, 2019 positive alert, “Keisa” had received
 3   training during which time “Keisa” successfully found training aids which contained
 4   actual narcotics. “Keisa” alerts to the scent of narcotics for which he is trained, which
 5   are heroin, cocaine, and methamphetamine. In addition, “Keisa” has also been trained
 6   with general currency in circulation, in order to make sure that he does not alert to the
 7   odor of currency but instead to the presence of narcotics on currency. At the time of the
 8   December 2, 2019 positive alert, “Keisa” had been successfully used in cases in which
 9   narcotics were found.
10          22.   The currency found in Moss’s possession (i.e., the defendant currency) was
11 in miscellaneous denominations that are consistent with narcotic trafficking: 378 one
12 hundred dollar bills, 5 fifty dollar bills, 42 twenty dollar bills, 1 ten dollar bill, and 1 five
13 dollar bill.
14          23.   A law enforcement records check revealed that Moss has a criminal history
15 related to controlled substances. Only six months prior to this seizure, on June 24, 2019,
16 Moss was arrested in West Point, Georgia during a traffic stop. Moss gave false
17 identification to a police officer and a search of the vehicle he was driving revealed a
18 package of marijuana concealed inside the gas cap of the vehicle, over $12,000 in U.S.
19 currency, a Springfield .45 caliber handgun under the driver’s seat, and a Draco AK-47
20 rifle with a magazine and a round chambered concealed under a bag of clothes in the
21 back seat. His true identity of Moss was discovered when he was fingerprinted and that
22 he was driving on a suspended license.
23          24.   Based on the above, plaintiff alleges that the defendant currency represents
24 or is traceable to proceeds of illegal narcotic trafficking or was intended to be used in
25 one or more exchanges for a controlled substance or listed chemical, in violation of 21
26 U.S.C. § 841 et seq. The defendant currency is therefore subject to forfeiture pursuant to
27 21 U.S.C. § 881(a)(6).
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         Case 2:20-cv-10712 Document 1 Filed 11/24/20 Page 7 of 8 Page ID #:7




1          WHEREFORE, plaintiff United States of America prays:
2          (a)    that due process issue to enforce the forfeiture of the defendant currency;
3          (b)    that due notice be given to all interested parties to appear and show cause
4    why forfeiture should not be decreed;
5          (c)    that this Court decree forfeiture of the defendant currency to the United
6    States of America for disposition according to law; and
7          (d)    for such other and further relief as this Court may deem just and proper,
8    together with the costs and disbursements of this action.
9    Dated: November 24, 2020                  NICOLA T. HANNA
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15                                                /s/Katharine Schonbachler
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                                               United States of America
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Case 2:20-cv-10712 Document 1 Filed 11/24/20 Page 8 of 8 Page ID #:8
